446 F.2d 46
    Richard James ROGERS, Plaintiff-Appellant,v.WHITE TRUCKS, a division of White Motor Corporation, Birmingham, Alabama, Defendant-Appellee.
    No. 71-1559 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 13, 1971.
    Rehearing Denied September 28, 1971.
    
      Appeal from United States District Court, Northern District of Alabama; Frank H. McFadden, District Judge.
      Orzell Billingsley, Jr., Birmingham, Ala., Nathaniel Jones, William Wills, New York City, for plaintiff-appellant.
      C. A. Powell, III, C. John Holditch, Birmingham, Ala., for defendant-appellee; Lange, Simpson, Robinson &amp; Somerville, Birmingham, Ala., of counsel.
      Before JOHN R. BROWN, Chief Judge, INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    Affirmed.1 See Local Rule 21.2
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        1
         Hyler v. Reynolds Metal Co., 5 Cir., 1970, 434 F.2d 1064
      
      
        2
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    